                                                                                                                                                                  AMENDED
             Case 22-50579-pwb                            Doc 30       Filed 06/28/22 Entered 06/28/22 10:58:05                                  Desc Main
                                                                      Document      Page 1 of 28
   Fill in this information to identify your case:

                   Kamran Liaquat Kurani
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number 22-50579-PWB                                                                                                                                Check if this is
   (if know)                                                                                                                                               an amended
                                                                                                                                                           filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim   Priority      Nonpriority
                                                                                                                                                amount        amount
  2.1                                                                     Last 4 digits of account number
         Georgia Department of Revenue                                                                                            $ 0.00        $ 0.00        $ 0.00
         Priority Creditor's Name
                                                                          When was the debt incurred?

         Bankruptcy Section                                               As of the date you file, the claim is: Check all
         Number        Street                                             that apply.
         PO Box 161108                                                       Contingent
                                                                             Unliquidated
         Atlanta GA             30321-1108                                   Disputed
         City      State        ZIP Code

         Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
                                                                             Domestic support obligations
             Debtor 1 only
                                                                             Taxes and certain other debts you owe the
             Debtor 2 only
                                                                             government
             Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
             At least one of the debtors and another                         intoxicated
             Check if this claim relates to a community                     Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document      Page 2 of 28
  2.2                                                                Last 4 digits of account number
          Internal Revenue Service                                                                                           $            $ 0.00         $
          Priority Creditor's Name
                                                                     When was the debt incurred? 2017                        175,000.00                  175,000.00
          Centralized Insolvency Operation                           As of the date you file, the claim is: Check all
          Number        Street                                       that apply.
          PO Box 7346                                                   Contingent
                                                                        Unliquidated
          Philadelphia PA               19101-7346                      Disputed
          City                State     ZIP Code

          Who owes the debt? Check one.                              Type of PRIORITY unsecured claim:
              Debtor 1 only                                             Domestic support obligations
              Debtor 2 only                                             Taxes and certain other debts you owe the
                                                                        government
              Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
              At least one of the debtors and another                   intoxicated
              Check if this claim relates to a community               Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                Last 4 digits of account number
          Addy Source, LLC                                                                                                                                $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          101 CHASE AVE                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          STE 101                                                       Unliquidated
                                                                        Disputed
          Lakewood NJ                 08701
          City            State       ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
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                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document      Page 3 of 28
  4.2                                                                Last 4 digits of account number
          Adrian Szakallas                                                                                                             $ 292,744.04
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          925 B Peachtree Street                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          #2166                                                         Unliquidated
                                                                        Disputed
          Atlanta GA             30309
          City        State      ZIP Code                            Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                Last 4 digits of account number 2392
          AFNI                                                                                                                          $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1310 Martin Luther King Drive                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          PO Box 3517                                                   Unliquidated
                                                                        Disputed
          Bloomington IL                61702
          City                State     ZIP Code                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                Last 4 digits of account number
          Alpha Capital Source, Inc                                                                                                         $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          622 E 8TH STREET                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Brooklyn NY             11218                                 Unliquidated
          City          State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                        page 3 of 22
              Kamran Liaquat Kurani                                                                                                AMENDED
 Debtor      Case   22-50579-pwb
                 First Name         Middle Name           Doc 30
                                                  Last Name         Filed 06/28/22 Entered 06/28/22Case
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                                                                                                        number(if known)     Main
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                                                                   Document      Page 4 of 28
  4.5                                                              Last 4 digits of account number 5727
          Amtrust North America                                                                                                      $ 64,987.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 6939                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Cleveland OH              44101                             Unliquidated
          City            State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                              Last 4 digits of account number
          Bovis Kyle Birch and Medlin                                                                                                    $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          200 ASHFORD CENTER NORTH                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          SUITE 500                                                   Unliquidated
                                                                      Disputed
          Atlanta GA             30338
          City        State      ZIP Code                          Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                              Last 4 digits of account number
          Business Credit and Capital, LLC                                                                                           $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          1359 BROADWAY                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          SUITE 803                                                   Unliquidated
                                                                      Disputed
          New York NY              10018
          City            State    ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                       page 4 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
                 First Name            Middle Name           Doc 30
                                                     Last Name         Filed 06/28/22 Entered 06/28/22Case
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                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
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  4.8                                                                 Last 4 digits of account number
          Business Merchant Funding, LLC                                                                                                $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          680 Central Ave                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Cedarhurst NY                 11516                            Unliquidated
          City                State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                 Last 4 digits of account number 8762
          Capital One                                                                                                                   $ 4,000.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          P.O. Box 71083                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Charlotte NC                28272                              Unliquidated
          City           State        ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.10 Chase                                                          Last 4 digits of account number 0604
                                                                                                                                        $ 5,923.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 6294                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Carol Stream IL                 60197                          Unliquidated
          City                  State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 5 of 22
              Kamran Liaquat Kurani                                                                                              AMENDED
 Debtor      Case   22-50579-pwb
                 First Name       Middle Name           Doc 30
                                                Last Name         Filed 06/28/22 Entered 06/28/22Case
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                                                                                                      number(if known)     Main
                                                                                                                       22-50579-PWB
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  4.11 Chase                                                     Last 4 digits of account number 0156
                                                                                                                                   $ 5,000.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          P.O. Box 1423                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Charlotte NC           28201                              Unliquidated
          City           State   ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.12 Chase                                                     Last 4 digits of account number 9396
                                                                                                                                   $ 9,982.10
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          P.O. Box 1423                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Charlotte NC           28201                              Unliquidated
          City           State   ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.13 Chase                                                     Last 4 digits of account number 3222
                                                                                                                                   $ 3,200.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          P.O. Box 1423                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Charlotte NC           28201                              Unliquidated
          City           State   ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                      page 6 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
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                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
                                                                      Document      Page 7 of 28
  4.14 Citi                                                           Last 4 digits of account number 9279
                                                                                                                                        $ 7,266.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 70166                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Philadelphia PA                19176                           Unliquidated
          City                 State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.15 Citicards CBNA                                                 Last 4 digits of account number
                                                                                                                                        $ 7,155.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          5800 South Corporate Place                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Mail Code 234                                                  Unliquidated
                                                                         Disputed
          Sioux Falls SD               57108
          City                State    ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.16 CREDENCE RESOURCE MANA                                         Last 4 digits of account number 8489
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          17000 DALLAS PKWY                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          STE 20                                                         Unliquidated
                                                                         Disputed
          Dallas TX             75248
          City      State       ZIP Code                              Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 7 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
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  4.17 Deeter and Fraiser                                             Last 4 digits of account number
                                                                                                                                        $ 19,226.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Promenade II                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          1230 Peachtree St NE #1500                                     Unliquidated
                                                                         Disputed
          Atlanta GA             30309
          City        State      ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.18 Discover Financial Services                                    Last 4 digits of account number 5813
                                                                                                                                         $ 6,991.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          P.O. Box 30943                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Salt Lake City UT               84130                          Unliquidated
          City                   State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.19 DISCOVER FIN SVCS LLC                                          Last 4 digits of account number 1120
                                                                                                                                         $ 6,523.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 15316                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Wilmington DE               19850                              Unliquidated
          City                State   ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 8 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
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  4.20 Funding Metrics, LLC                                          Last 4 digits of account number
                                                                                                                                       $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          884 Town Center Drive                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Langhorne PA                19047                             Unliquidated
          City                State   ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.21 Gwinnett Surgical Assoc                                       Last 4 digits of account number 0959
                                                                                                                                       $ 1,707.16
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 650292                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Dallas TX             75265                                   Unliquidated
          City      State       ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.22 Heritage First Bank                                           Last 4 digits of account number
                                                                                                                                       $ 8,751.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 5184                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Rome GA               30162                                   Unliquidated
          City      State       ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                      page 9 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
                 First Name            Middle Name           Doc 30
                                                     Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                       10:58:05          Desc
                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
                                                                      Document     Page 10 of 28
  4.23 Influx Capital, LLC                                            Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          32 Court St.                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Suite 205                                                      Unliquidated
                                                                         Disputed
          Brooklyn NY                 11201
          City          State         ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.24 IOU FINANCIAL INC                                              Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Attn: Paul G. Wersant                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          3245 Peachtree Parkway, Suite D-245                            Unliquidated
                                                                         Disputed
          Suwanee GA                  30024
          City           State        ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.25 JPMCB CARD                                                     Last 4 digits of account number 4720
                                                                                                                                        $ 1,186.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO BOX 15369                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Wilmington DE                 19850                            Unliquidated
          City                State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                     page 10 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document     Page 11 of 28
  4.26 Kalamata Capital Group                                        Last 4 digits of account number
                                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          c/o Pryor & Mandelup, LLP                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          675 Old Country Road                                          Unliquidated
                                                                        Disputed
          Westbury NY                 11590
          City           State        ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.27 Kash Capital, LLC                                             Last 4 digits of account number
                                                                                                                                       $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          475 NORTHERN BLVD, FLR 3                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          SUITE 36                                                      Unliquidated
                                                                        Disputed
          Great Neck NY                11021
          City                State    ZIP Code                      Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.28 Laboratory Corporation of America                             Last 4 digits of account number 7388
                                                                                                                                        $ 264.59
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 2240                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Burlington NC               27216                             Unliquidated
          City            State       ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                     page 11 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name            Doc 30
                                                     Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                       10:58:05          Desc
                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
                                                                      Document     Page 12 of 28
  4.29 Med Direct Capital, LLC                                        Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          151 NW 1st Ave                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Delray Beach FL                 33444                          Unliquidated
          City                   State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.30 Peachtree Spine Physicians                                     Last 4 digits of account number 5495
                                                                                                                                          $ 783.53
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 100066                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Atlanta GA             30348                                   Unliquidated
          City        State      ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.31 Pioneer Mutual Federal Credit Union                            Last 4 digits of account number 0003
                                                                                                                                        $ 65,000.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 09/01/2016

          1521 Lake Pointe Parkway                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Sugar Land TX                  77478                           Unliquidated
          City                State      ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 12 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document     Page 13 of 28
  4.32 Pioneer Mutual Federal Credit Union                           Last 4 digits of account number
                                                                                                                                       $ 22,176.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1521 Lake Pointe Parkway                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Sugar Land TX                77478                            Unliquidated
          City                State    ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.33 Platinum Company Credit Card                                  Last 4 digits of account number 1429
                                                                                                                                        $ 8,624.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          2035 SUGARLOAF CIR                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Duluth GA            30097                                    Unliquidated
          City       State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.34 Platinum FCU                                                  Last 4 digits of account number 0003
                                                                                                                                       $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          2035 SUGARLOAF CIR                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Duluth GA            30097                                    Unliquidated
          City       State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                      page 13 of 22
              Kamran Liaquat Kurani                                                                                                 AMENDED
 Debtor      Case   22-50579-pwb
                 First Name      Middle Name               Doc 30
                                                   Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                     10:58:05          Desc
                                                                                                         number(if known)     Main
                                                                                                                          22-50579-PWB
                                                                    Document     Page 14 of 28
  4.35 Platinum Federal Credit Union                                Last 4 digits of account number 0008
                                                                                                                                       $ 2,316.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2035 SUGARLOAF CIR                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Duluth GA           30097                                    Unliquidated
          City       State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.36 Platinum Federal Credit Union                                Last 4 digits of account number 0003
                                                                                                                                      $ 16,440.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2035 SUGARLOAF CIR                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Duluth GA           30097                                    Unliquidated
          City       State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.37 Region Capital, LLC                                          Last 4 digits of account number
                                                                                                                                      $ Unknown
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          323 Sunny Isles Blvd                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Suite 501                                                    Unliquidated
                                                                       Disputed
          North Miami Beach FL                 33160
          City                     State       ZIP Code             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                      page 14 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
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  4.38 Regions Bank                                                  Last 4 digits of account number 7255
                                                                                                                                       $ 19,026.79
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          P.O. Box 2224                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Birmingham AL                 35246                           Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.39 Regions Bank                                                  Last 4 digits of account number 5102
                                                                                                                                       $ 20,592.72
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          P.O. Box 2224                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Birmingham AL                 35246                           Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.40 Regions Bank                                                  Last 4 digits of account number 1763
                                                                                                                                       $ 38,444.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Post Office Box 11007                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Birmingham AL                 35288                           Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                      page 15 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
                 First Name            Middle Name           Doc 30
                                                     Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                       10:58:05          Desc
                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
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  4.41 Regions Bank                                                   Last 4 digits of account number 9970
                                                                                                                                        $ 22,708.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          1900 5TH AVE N                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Birmingham AL                  35203                           Unliquidated
          City                 State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.42 Richmond Capital Group, LLC                                    Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          c/o LAWRENCE P. GIARDINA, ESQ.                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          8212 THIRD AVENUE                                              Unliquidated
                                                                         Disputed
          Brooklyn NY                 11209
          City          State         ZIP Code                        Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.43 Sallie Mae                                                     Last 4 digits of account number 1304
                                                                                                                                         $ 1,792.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 3229                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Wilmington DE                 19804                            Unliquidated
          City                State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 16 of 22
              Kamran Liaquat Kurani                                                                                                AMENDED
 Debtor      Case   22-50579-pwb
                 First Name         Middle Name           Doc 30
                                                  Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                    10:58:05          Desc
                                                                                                        number(if known)     Main
                                                                                                                         22-50579-PWB
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  4.44 Second Chance Funding, LLC                                  Last 4 digits of account number
                                                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          461 Van Brunt St                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Brooklyn NY             11231                               Unliquidated
          City          State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.45 SouthCrest Bank, N.A.                                       Last 4 digits of account number
                                                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          1475 Peachtree Street NE                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Suite 100                                                   Unliquidated
                                                                      Disputed
          Atlanta GA             30309
          City        State      ZIP Code                          Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.46 SPG Advance, LLC                                            Last 4 digits of account number
                                                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          c/o LAZER PREIZLER - BURECH                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          WEINSTOCK                                                   Unliquidated
                                                                      Disputed
          5306 NEW UTRECHT AVE
                                                                   Type of NONPRIORITY unsecured claim:
          Brooklyn NY             11219                              Student loans
          City          State     ZIP Code                            Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
          Who owes the debt? Check one.
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 only                                           debts
              Debtor 2 only                                          Other. Specify
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                     page 17 of 22
              Kamran Liaquat Kurani                                                                                                   AMENDED
 Debtor      Case   22-50579-pwb
                 First Name            Middle Name           Doc 30
                                                     Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                       10:58:05          Desc
                                                                                                           number(if known)     Main
                                                                                                                            22-50579-PWB
                                                                      Document     Page 18 of 28
  4.47 Stand-UP MRI Diagnostic CNT PA                                 Last 4 digits of account number 3098
                                                                                                                                         $ 464.75
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 127                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Farmingdale NY                 11735                           Unliquidated
          City                 State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.48 University of New England                                      Last 4 digits of account number 5352
                                                                                                                                        $ 1,672.86
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 6442                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Brattleboro VT               05302                             Unliquidated
          City                State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.49 World Global Capital, LLKC                                     Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          c/o Business Filings Incorporated                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          187 WOLF ROAD SUITE 101                                        Unliquidated
                                                                         Disputed
          Albany NY              12205
          City       State       ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                     page 18 of 22
              Kamran Liaquat Kurani                                                                                                  AMENDED
 Debtor      Case   22-50579-pwb
                 First Name           Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document     Page 19 of 28
  4.50 Yasmin Kurani                                                 Last 4 digits of account number
                                                                                                                                               $ 54,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          615 Blue Park Road                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Orange City FL                32763                           Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.51 YES CAPITAL GROUP LLC                                         Last 4 digits of account number
                                                                                                                                                   $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1225 FRANKLIN AVE                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          SUITE 522                                                     Unliquidated
                                                                        Disputed
          Garden City NY                11530
          City                State     ZIP Code                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.52 Zarina Ali                                                    Last 4 digits of account number
                                                                                                                                               $ 45,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          5818 Berkshire Ridge Rd                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Sugar Land TX                77479                            Unliquidated
          City                State    ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                              page 19 of 22
                Kamran Liaquat Kurani                                                                                              AMENDED
 Debtor        Case   22-50579-pwb
               First Name           Middle Name           Doc 30
                                                  Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                    10:58:05          Desc
                                                                                                        number(if known)     Main
                                                                                                                         22-50579-PWB
                                                                   Document     Page 20 of 28

        Balch & Bingham LLP                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.45 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Suite 700
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        30 Ivan Allen Jr. Blvd. N.W.                                         Claims
                                                                             Last 4 digits of account number
        Atlanta GA            30308
        City     State        ZIP Code


        Ballard Spahr LLP                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.44 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        999 Peachtree Street
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Suite 1000                                                           Claims
                                                                             Last 4 digits of account number
        Atlanta GA            30309
        City     State        ZIP Code


        Burr Forman LLP                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.40 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        171 Seventeenth Street NW
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Suite 1100                                                           Claims
                                                                             Last 4 digits of account number
        Atlanta GA            30363
        City     State        ZIP Code


        CAVALRY PORTFOLIO SERV                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO BOX 27288
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Tempe AZ              85285                                          Claims
        City     State        ZIP Code
                                                                             Last 4 digits of account number 0444


        Department of Justice, Tax Division                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 2.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Civil Trial Section, Southern Region
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        PO Box 14198, Ben Franklin Station                                   Claims
                                                                             Last 4 digits of account number
        Washington DC               20044
        City                State   ZIP Code


        Georgia Department of Law                                            On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 2.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        40 Capitol Square, SW
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Atlanta GA            30334                                          Claims
        City     State        ZIP Code
                                                                             Last 4 digits of account number


        Georgia Department of Revenue                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 2.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Compliance Division, ARCS - Bankruptcy
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        1800 Century Blvd NE, Suite 9100                                     Claims
                                                                             Last 4 digits of account number
        Atlanta GA            30345-3202
        City     State        ZIP Code




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 20 of 22
                Kamran Liaquat Kurani                                                                                                AMENDED
 Debtor        Case   22-50579-pwb
               First Name             Middle Name           Doc 30
                                                    Last Name         Filed 06/28/22 Entered 06/28/22Case
                                                                                                      10:58:05          Desc
                                                                                                          number(if known)     Main
                                                                                                                           22-50579-PWB
                                                                     Document     Page 21 of 28
                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        IOU Central, Inc.
        Creditor’s Name                                                        Line 4.24 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        c/o JOYCE CHILDERS LLP                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                               Claims
        PO Box 550291
                                                                               Last 4 digits of account number
        Atlanta GA             30355
        City     State         ZIP Code


        Internal Revenue Service                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 2.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Insolvency Unit
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        401 W. Peachtree Steet, NW, Stop 334-D                                 Claims
                                                                               Last 4 digits of account number
        Atlanta GA             30308
        City     State         ZIP Code


        National Enterprise Systems                                            On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.41 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2479 Edison Blvd
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        Unit A                                                                 Claims
                                                                               Last 4 digits of account number
        Twinsburg OH                44087
        City            State       ZIP Code


        Pryor & Mandelup, L.L.P.                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Attn: Anthony F. Giuliano
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        675 Old Country Road                                                   Claims
                                                                               Last 4 digits of account number
        Westbury NY                 11590
        City           State        ZIP Code


        United States Attorney                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 2.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        600 Richard B. Russell Federal Building
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        75 Ted Turner Drive, SW                                                Claims
                                                                               Last 4 digits of account number
        Atlanta GA             30303-3309
        City     State         ZIP Code


        United States Attorney General                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 2.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        U.S. Department of Justice
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        950 Pennsylvania Avenue, NW                                            Claims
                                                                               Last 4 digits of account number
        Washington DC                 20530-0001
        City                State     ZIP Code


        Yes Capital Group, LLC                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.51 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        48th St.
        Number     Street                                                                                            Part 2: Creditors with Nonpriority Unsecured
        Brooklyn NY             11219                                          Claims
        City        State       ZIP Code
                                                                               Last 4 digits of account number

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 21 of 22
              Kamran Liaquat Kurani                                                                                           AMENDED
 Debtor      Case   22-50579-pwb
               First Name     Middle Name           Doc 30
                                            Last Name          Filed 06/28/22 Entered 06/28/22Case
                                                                                               10:58:05          Desc
                                                                                                   number(if known)     Main
                                                                                                                    22-50579-PWB
                                                              Document     Page 22 of 28

                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 175,000.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 175,000.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 763,946.54
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 763,946.54




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims           page 22 of 22
                                                                                                                                                                                         AMENDED
            Case 22-50579-pwb                           Doc 30          Filed 06/28/22 Entered 06/28/22 10:58:05                                                      Desc Main
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 Fill in this information to identify your case:

 Debtor 1
                     Kamran Liaquat Kurani
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number           22-50579-PWB
                     ___________________________________________                                                                                                          
                                                                                                                                                                          ✔ Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 265,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 7,150.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 272,150.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 894,378.56
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 175,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 763,946.54
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,833,325.10
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,200.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,364.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                                                                                                                                     AMENDED
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                  Kamran Kurani
                                                               Document     Page 24 of 28
                                                                                                                          22-50579-PWB
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



    9d. Student loans. (Copy line 6f.)                                                                      $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                                                                                                                                      AMENDED
               Case 22-50579-pwb                   Doc 30     Filed 06/28/22 Entered 06/28/22 10:58:05                                Desc Main
                                                             Document     Page 25 of 28
Fill in this information to identify your case:

Debtor 1           Kamran Liaquat Kurani
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         22-50579-PWB
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                          ■

                                                                                                                                              amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                         12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Kamran Liaquat Kurani
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              06/21/2022
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
  Case 22-50579-pwb     Doc 30    Filed 06/28/22 Entered 06/28/22 10:58:05   Desc Main
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AFNI
1310 Martin Luther King Drive
PO Box 3517
Bloomington, IL 61702


Amtrust North America
PO Box 6939
Cleveland, OH 44101


co‐owner of fitbox
Gabriel Kitober Viera
302 Perimeter Ctr N
Atlanta, GA 30346


Gwinnett Surgical Assoc
PO Box 650292
Dallas, TX 75265


Laboratory Corporation of America
PO Box 2240
Burlington, NC 27216


National Enterprise Systems
2479 Edison Blvd
Unit A
Twinsburg, OH 44087


Stand‐UP MRI Diagnostic CNT PA
PO Box 127
Farmingdale, NY 11735
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )      CHAPTER 7
KAMRAN LIAQUAT KURANI,                        )
      Debtor.                                 )      CASE NO: 22-50579-PWB

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of June, 2022, I electronically filed the foregoing
Amended Chapter 7 Schedules with the Clerk of Court using the CM/ECF system which will
automatically send an e-mail notification of such filing to the parties or attorneys of record. I
have also on this day caused a copy of the pleading to be placed in the first-class United States
mail, postage prepaid, addressed to the following recipients not participating in the CM/ECF
system as follows:

Kamran Liaquat Kurani
860 Peachtree Street NE
Suite 703
Atlanta, GA 30308

S. Gregory Hays, Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

U.S. Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

AFNI
1310 Martin Luther King Drive
PO Box 3517
Bloomington, IL 61702

Amtrust North America
PO Box 6939
Cleveland, OH 44101
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co-owner of fitbox
Gabriel Kitober Viera
302 Perimeter Ctr N
Atlanta, GA 30346

Gwinnett Surgical Assoc
PO Box 650292
Dallas, TX 75265

Laboratory Corporation of America
PO Box 2240
Burlington, NC 27216

National Enterprise Systems
2479 Edison Blvd
Unit A
Twinsburg, OH 44087

Stand-UP MRI Diagnostic CNT PA
PO Box 127
Farmingdale, NY 11735

Dated: June 28, 2022

___/S/__________________
Michael R. Rethinger
1028 Edgewood Avenue NE
Atlanta, GA 30307
770.922.0066
michael@rethingerlaw.com
